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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF FLORIDA
                                 GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                           CASE NO. 1:88-cr-01026-MP-AK

CHARLES L DAVIS,

      Defendant.
___________________________/

                                          ORDER

       This matter is before the Court on Doc. 3405, the unopposed Motion to Continue

Evidentiary Hearing, filed by Charles L. Davis. The motion is granted, and the evidentiary

hearing currently set for July 7, 2005 is hereby continued and reset for Wednesday August 3,

2005 at 10:00 a.m.

       DONE AND ORDERED this 30th day of June, 2005


                                     s/Maurice M. Paul
                                Maurice M. Paul, Senior District Judge
